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     United States of America
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8
9                            IN THE UNITED STATES DISTRICT COURT
10                        FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12    UNITED STATES OF AMERICA                        Case No. 1:20-cr-000198-JLT-BAM
13                  Plaintiff,                        STIPULATION TO SET CHANGE OF
                                                      PLEA AND VACATE STATUS
14                                                    CONFERENCE; ORDER
15          v.
16    RAYMOND HOLCOMB BREWER
17                  Defendant.
18
19
20          The parties have filed a plea agreement to resolve this case. Accordingly, IT IS
21   HEREBY STIPULATED that the case can be set for a change of plea hearing before the
22   Honorable Jennifer L. Thurston on February 27, 2023, at 10:00 a.m. The parties have confirmed
23   this date with the Court. The status conference scheduled for March 8, 2023, can be vacated.
24   ///
25   ///
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1           Time under the Speedy Trial Act has already been excluded through March 8, 2023.
2    Therefore, there is no need for a further exclusion.
3
4
5     Dated: February 15, 2023                              /s/ Peter Jones
                                                            PETER JONES
6                                                           Counsel for Ray H. Brewer
7
8     Dated: February 15, 2023                              /s/ Joseph Barton
                                                            JOSEPH BARTON
9                                                           Assistant United States Attorney
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                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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      UNITED STATES OF AMERICA                           Case No. 1:20-cr-000198-JLT-BAM
12
                    Plaintiff,                           ORDER
13
            v.
14
      RAYMOND HOLCOMB BREWER
15
                    Defendant.
16
17
18
            Upon the parties’ stipulation and for good cause shown, this case is set for a change of
19
     plea hearing on February 27, 2023, at 10:00 a.m., before the Honorable Jennifer L.
20
     Thurston. The status conference scheduled for March 8, 2023, is vacated. Time under the
21
     Speedy Trial Act has already been excluded through March 8, 2023.
22
23   IT IS SO ORDERED.

24      Dated:    February 16, 2023                           /s/ Barbara   A. McAuliffe           _
25                                                       UNITED STATES MAGISTRATE JUDGE

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